                                                       Presentment Date and Time: August 14, 2023 at 12:00 p.m. EDT
                                                               Objection Deadline: August 14, 2023 at 12:00 p.m. EDT


JENNER & BLOCK LLP
Catherine L. Steege (admitted pro hac vice)
Vincent E. Lazar
353 N. Clark Street
Chicago, Illinois 60654
(312) 222-9350

Richard Levin
Kayvan Sadeghi
1155 Avenue of the Americas
New York, New York 10036
(212) 891-1600

Counsel to the Examiner

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re                                                              Chapter 11
CELSIUS NETWORK LLC, et al.1                                       Case No. 22-10964 (MG)
                                   Debtors.
                                                                   (Jointly Administered)


           NOTICE OF PRESENTMENT OF FINAL APPLICATION OF SHOBA
        PILLAY, EXAMINER AND JENNER & BLOCK LLP FOR PROFESSIONAL
            SERVICES RENDERED AND REIMBURSEMENT OF EXPENSES
                 INCURRED AS ATTORNEYS FOR EXAMINER FOR
          THE PERIOD OF SEPTEMBER 29, 2022 THROUGH MARCH 31, 2023

        PLEASE TAKE NOTICE that the Examiner will present the attached Final Application of

Shoba Pillay, Examiner and Jenner & Block LLP for Professional Services Rendered and

Reimbursement of Expenses Incurred as Attorneys for Examiner for the Period of September 29,

2022 Through March 31, 2023 (the “Application”) to the Honorable Martin Glenn, Chief United


1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number are: Celsius Network LLC (2148); Celsius KeyFi LLC (4414); Celsius Lending LLC (8417); Celsius Mining
LLC (1387); Celsius Network Inc. (1219); Celsius Network Limited (8554); Celsius Networks Lending LLC (3390);
Celsius US Holding LLC (7956); GK8 Ltd. (1209); GK8 UK Ltd. (0893); and GK8 USA LLC (9450). The location
of Debtor Celsius Network LLC’s principal place of business and the Debtors’ service address in these chapter 11
cases is 121 River Street, PH05, Hoboken, New Jersey 07030.
States Bankruptcy Judge, for approval and signature on August 14, 2023, at 12:00 p.m., Eastern

Daylight Time (the “Presentment Date”).

       Any responses or objections to the relief requested in the Application shall: (a) be in

writing; (b) conform to the Federal Rules of Bankruptcy Procedure, the Local Bankruptcy Rules

for the Southern District of New York, all General Orders applicable to chapter 11 cases in the

United States Bankruptcy Court for the Southern District of New York, and the Second Amended

Final Order (I) Establishing Certain Notice, Case Management, and Administrative Procedures

and (II) Granting Related Relief [Dkt. 2560]; (c) be filed electronically with the Court on the

docket of In re Celsius Network LLC, No. 22-10964 (MG) by registered users of the Court’s

electronic filing system and in accordance with all General Orders applicable to chapter 11 cases

in the United States Bankruptcy Court for the Southern District of New York (which are available

on the Court’s website at http://www.nysb.uscourts.gov); and (d) be served so as to be actually

received by August 14, 2023, at 12:00 p.m., Eastern Daylight Time (the “Objection Deadline”),

by (i) the entities on the Master Service List available on the case website of the above-captioned

debtors and debtors in possession (the “Debtors”) at https://cases.stretto.com/celsius, and (ii) any

person or entity with a particularized interest in the subject matter of the Application.

       PLEASE TAKE FURTHER NOTICE that if no objections or other responses are timely

filed and served by the Objection Deadline with respect to the Application, the Examiner shall, on

the Presentment Date, submit a proposed order approving the Application to the Court, which order

the Court may enter without further notice or opportunity to be heard.

       PLEASE TAKE FURTHER NOTICE that copies of the Application and other pleadings

filed in these chapter 11 cases may be obtained free of charge by visiting the website of Stretto at

https://cases.stretto.com/celsius. You may also obtain copies of the Application and other




                                                  2
pleadings   filed   in   these   chapter   11    cases   by   visiting    the   Court’s   website   at

http://www.nysb.uscourts.gov in accordance with the procedures and fees set forth therein.


Dated: July 24, 2023                            Respectfully submitted,

                                                JENNER & BLOCK LLP

                                                By: /s/ Vincent E. Lazar
                                                Catherine L. Steege (admitted pro hac vice)
                                                Vincent E. Lazar
                                                353 N. Clark Street
                                                Chicago, IL 60654
                                                (312) 222-9350
                                                vlazar@jenner.com
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                                                Richard Levin
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                                                New York, NY 10036
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                                                rlevin@jenner.com
                                                ksadeghi@jenner.com

                                                Counsel to the Examiner




                                                   3
                                                       Presentment Date and Time: August 14, 2023 at 12:00 p.m. EDT
                                                               Objection Deadline: August 14, 2023 at 12:00 p.m. EDT


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Counsel to the Examiner

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re                                                              Chapter 11
CELSIUS NETWORK LLC, et al.1                                       Case No. 22-10964 (MG)
                                   Debtors.
                                                                   (Jointly Administered)


            SUMMARY COVER SHEET TO FINAL APPLICATION OF SHOBA
         PILLAY, EXAMINER AND JENNER & BLOCK LLP FOR PROFESSIONAL
             SERVICES RENDERED AND REIMBURSEMENT OF EXPENSES
                  INCURRED AS ATTORNEYS FOR EXAMINER FOR
           THE PERIOD OF SEPTEMBER 29, 2022 THROUGH MARCH 31, 2023

    Name of applicant:                                        Shoba Pillay, Examiner, and Jenner &
                                                              Block LLP
    Authorized to provide professional services to:           Shoba Pillay, Examiner
    Date of order approving employment:                       November 1, 2022 (effective as of
                                                              September 29, 2022)
    Period for which compensation and                         September 29, 2022 through March 31,
    reimbursement are sought:                                 2023

1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number are: Celsius Network LLC (2148); Celsius KeyFi LLC (4414); Celsius Lending LLC (8417); Celsius Mining
LLC (1387); Celsius Network Inc. (1219); Celsius Network Limited (8554); Celsius Networks Lending LLC (3390);
Celsius US Holding LLC (7956); GK8 Ltd. (1209); GK8 UK Ltd. (0893); and GK8 USA LLC (9450). The location
of Debtor Celsius Network LLC’s principal place of business and the Debtors’ service address in these chapter 11
cases is 121 River Street, PH05, Hoboken, New Jersey 07030.
    Total fees sought this period:                             $11,092,379.32
    Total expenses sought this period:                         $65,138.10
    Total fees and expenses requested:                         $11,157,517.42
    Total compensation approved to date by Interim             $11,092,379.32
    Order:
    Total expenses approved to date by Interim                 $65,138.10
    Order:
    Total allowed compensation paid to date:                   $9,066,542.70
    Total allowed expenses reimbursed to date:                 $66,778.16
    Number of professionals included in this                   64
    application:
    Number of professionals billing fewer than 15              18
    hours:
    Type of fee statement or application                       Final Fee Application
    Blended rate in this application for all attorneys:        $1,013.22
    Blended rate in this application for all                   $998.17
    timekeepers:
    Are any rates higher than those approved or                Yes. See Notice of Rate Increases of Jenner
    disclosed at retention?                                    & Block LLP, Counsel to the Examiner
                                                               [Dkt. 1732]
    Difference between fees budgeted and                       N/A2
    compensation sought:




2
  As described in the Examiner’s Final Report, challenges were encountered during the latter part of the investigation
with respect to the timing and availability of information, documents and witnesses which resulted in adjustments to
the work scope and schedule. The Examiner was regularly apprised of these developments, but no formal budget was
submitted to the Court.



                                                          2
    Name of         Title       Year       Department            Hourly       Total    Hourly       Total    Total Fees
    Professional                Admitted                         Billing     Billed    Billing     Billed    Requested3
                                                                   Rate      Hours      Rate       Hours
                                                                  (2022)     (2022)    (2023)      (2023)
    CATHERINE L.    Partner     1982       Restructuring &       $1,595.00    170.90   $2,130.00   195.60     $689,213.50
    STEEGE                                 Bankruptcy
    VINCENT E.      Partner     1990       Restructuring &       $1,540.00   244.00    $1,735.00   179.90     $687,886.50
    LAZAR                                  Bankruptcy
    SHOBA PILLAY    Partner     2003       Investigations,       $1,455.00   356.60    $1,590.00   265.90     $941,634.00
                                           Compliance &
                                           Defense
    GAIL H. MORSE   Partner     1982       Tax                   $1,320.00   123.80    $1,440.00    37.90     $217,992.00
    DAVID M.        Partner     1986       Litigation            $1,275.00      3.30        N/A      N/A         $4,207.50
    GREENWALD
    MELISSA M.      Partner     2003       Restructuring &       $1,265.00   250.60    $1,430.00   202.40     $606,441.00
    ROOT                                   Bankruptcy
    HOWARD S.       Partner     1983       FIFL                       N/A       N/A    $1,390.00     0.50         $695.00
    SUSKIN
    ANDRIANNA D.    Partner     2005       Appellate             $1,300.00     11.10   $1,300.00    27.60       $50,310.00
    KASTANEK
    LANDON S.       Partner     2008       Restructuring &       $1,185.00   541.00    $1,290.00   300.90    $1,029,246.00
    RAIFORD                                Bankruptcy
    KAYVAN B.       Partner     2003       Securities            $1,150.00   196.40    $1,260.00   132.90     $393,314.00
    SADEGHI                                Litigation &
                                           Enforcement
    SARAH F.        Partner     2010       Investigations,       $1,090.00   224.10    $1,240.00   217.90     $514,465.00
    WEISS                                  Compliance &
                                           Defense
    HANNA M.        Partner     2012       Energy                $1,085.00      1.50        N/A      N/A         $1,627.50
    CONGER
    AARON R.        Partner     2011       Investigations,       $1,085.00   465.20    $1,240.00   251.40     $816,478.00
    COOPER                                 Compliance &
                                           Defense
    EMILY M.        Partner     2013       Investigations,       $1,075.00   157.80    $1,240.00    61.00     $245,275.00
    SAVNER                                 Compliance &
                                           Defense
    CARL N.         Special     2010       Restructuring &       $1,095.00   260.00    $1,195.00   108.90     $414,835.50
    WEDOFF          Counsel                Bankruptcy
    LAURA E.        Special     2004       Litigation             $905.00    631.60     $990.00    282.70     $851,471.00
    PELANEK         Counsel
    MICHELLE A.     Associate   2018       Government             $905.00    203.60    $1,105.00    93.00     $287,023.00
    ONIBOKUN                               Contracts
    PHILIP B.       Associate   2018       Investigations,        $905.00    270.50    $1,105.00   171.90     $434,752.00
    SAILER                                 Compliance &
                                           Defense
    SARA M.         Associate   2019       Investigations,        $825.00    185.80    $1,050.00   121.10     $280,440.00
    STAPPERT                               Compliance &
                                           Defense
    ERIC E. PETRY   Associate   2019       Litigation             $825.00    123.80    $1,050.00    55.80     $160,725.00
    SARA M.         Associate   2020       Litigation             $750.00      63.30    $960.00     69.40     $114,099.00
    CROOK
    SOLANA R.       Associate   2020       Corporate              $750.00    145.40     $960.00     51.10     $158,106.00
    GILLIS
    ARIANA J.       Associate   2020       Investigations,        $750.00      12.20    $960.00     63.60       $70,206.00
    KANAVY                                 Compliance &
                                           Defense
    KETURAH R.      Associate   2019       Investigations,        $710.00      11.20        N/A      N/A         $7,952.00
    JAMES                                  Compliance &
                                           Defense




3
 As noted herein, in consultation with the Fee Examiner, the Examiner and Jenner & Block agreed to $305,475.68 in
aggregate reductions to its requested fees during the Final Fee Period. This chart reflects fees prior to these reductions.


                                                             3
Name of          Title       Year       Department            Hourly      Total    Hourly      Total    Total Fees
Professional                 Admitted                         Billing    Billed    Billing    Billed    Requested3
                                                               Rate      Hours      Rate      Hours
                                                              (2022)     (2022)    (2023)     (2023)
ADINA            Associate   2021       Litigation             $710.00    220.40    $860.00     76.30    $222,102.00
HEMLEY-
BRONSTEIN
BREANNA K.       Associate   2021       Restructuring &           N/A       N/A     $860.00     7.10       $6,106.00
DROZD                                   Bankruptcy
KATE E. FINTEL   Associate   2021       Litigation                N/A       N/A     $860.00    55.30      $47,558.00
COURTNEY B.      Associate   2021       Litigation             $700.00   161.00     $860.00   104.40     $202,484.00
SHIER
RAYMOND B.       Associate   2021       Litigation             $700.00   261.00     $860.00   157.10     $317,806.00
SIMMONS
CHERRISSE R.     Associate   2021       Litigation             $700.00   172.60     $860.00    50.70     $164,422.00
WOODS
VINCENT WU       Associate   2021       Litigation             $700.00      1.00    $860.00    34.00      $29,940.00
ISHA Z. ABBASI   Associate   2022       Litigation             $700.00     31.60    $745.00    73.20      $76,654.00
NICHOLAS S.      Associate   2022       Litigation             $700.00   252.30     $745.00   224.30     $343,713.50
JOHN
MICHAEL D.       Associate   2022       Litigation             $700.00     27.90    $745.00    40.80      $49,926.00
PEARSON
ETHAN M.         Associate   2022       Litigation             $700.00     42.20    $745.00    67.00      $79,455.00
LEVY
LAURA K.M.       Associate   2022       Litigation             $700.00     26.40    $745.00    62.80      $65,266.00
KOELLER
PATRICIA A.      Associate   2022       Litigation             $700.00     29.70    $745.00    49.30      $57,518.50
PETERS
OLUWATOMISI      Associate   2022       Litigation             $700.00     40.60       N/A      N/A       $28,420.00
N T. JOHNSON
BLAINE R.        Associate   2022       Litigation             $700.00     15.10    $745.00    30.30      $33,143.50
VALENCIA
NICOLE R.        Associate   2022       Litigation             $700.00     31.80    $745.00    45.20      $55,934.00
ALLICOCK
ZACHARY A.       Law Clerk   2022       Litigation             $710.00     22.50    $745.00    36.50      $43,167.50
MARINO
PAMELA A.        Staff       2000       Litigation             $595.00   184.80        N/A      N/A      $109,956.00
MARINO-          Attorney
GIAKOU
CONSTANCE        Discovery   2011       Litigation             $330.00     31.40       N/A      N/A       $10,362.00
J.B. PURTILL     Attorney
DAVID C. GUI     Discovery   2013       Litigation             $330.00   189.60        N/A      N/A       $62,568.00
                 Attorney
CHRISTINE C.     Discovery   1999       Litigation             $330.00     87.00    $330.00    79.20      $54,846.00
CORSO            Attorney
NOELLE M.        Discovery   2009       Litigation             $330.00     98.70    $330.00    95.30      $64,020.00
DUPUIS           Attorney
MICHELLE A.      Discovery   2005       Litigation             $330.00   106.60        N/A      N/A       $35,178.00
MCDONALD         Attorney
MIKKEL R.        Discovery   2007       Litigation             $330.00     37.90      N/A       N/A       $12,507.00
MICHELSON        Attorney
LEAH J.          Discovery   2002       Litigation             $330.00     54.20       N/A      N/A       $17,886.00
STARKMAN         Attorney
STEFANO          Discovery   2013       Litigation             $330.00     62.30    $365.00    33.50      $32,786.50
VIOLA            Attorney
DANIEL O.        Senior      N/A                               $560.00   192.50     $590.00   128.20     $183,438.00
GARCIA           Paralegal
DEBRA E.         Senior      N/A                                  N/A       N/A     $590.00     5.00       $2,950.00
ABELSON          Paralegal
CHERYL J.        Senior      N/A                                  N/A       N/A     $590.00     5.70       $3,363.00
KRAS             Paralegal
JESSICA M.       Senior      N/A                                  N/A       N/A     $590.00     7.30       $4,307.00
MERKOURIS        Paralegal




                                                          4
Name of         Title        Year       Department       Hourly       Total    Hourly      Total     Total Fees
Professional                 Admitted                    Billing     Billed    Billing    Billed     Requested3
                                                          Rate       Hours      Rate      Hours
                                                         (2022)      (2022)    (2023)     (2023)
CHRISTOPHER     Senior       N/A                               N/A       N/A    $590.00      3.50        $2,065.00
R. WARD         Paralegal
KELSEY          Paralegal    N/A                              N/A       N/A     $505.00      2.70        $1,363.50
HYUNJEE CHOI
SAM A. ROSEN    Paralegal    N/A                              N/A       N/A     $505.00      3.00        $1,515.00
ADAM H.         Paralegal    N/A                              N/A       N/A     $320.00      4.80        $1,536.00
WEIDMAN
BRYAN A.        Senior       N/A                          $455.00       1.30       N/A       N/A          $591.50
POWER           Litigation
                Support
                Specialist
PAUL S.         Senior       N/A                          $405.00      10.50       N/A       N/A         $4,252.50
RAMONAS         Research
                Librarian
JAMES P.        Senior       N/A                          $405.00       2.50    $420.00      1.50        $1,642.50
WALSH           Research
                Librarian
M. KRISTINA     Research     N/A                          $405.00       1.20       N/A       N/A          $486.00
DEGUZMAN        Librarian
STEPHEN S.      Research     N/A                          $405.00       6.20       N/A       N/A         $2,511.00
MELLIN          Librarian
TRICIA J.       Research     N/A                          $405.00       0.60    $420.00      1.30         $789.00
PEAVLER         Librarian
  Sub-Total*                                                                                        $11,412,930.00
Less 50%                                                                                               $15,075.00
Discount on
Non-working
Travel Matter
Total                                                                             11,433.80 hours   $11,397,855.00




                                                     5
                                                       Presentment Date and Time: August 14, 2023 at 12:00 p.m. EDT
                                                               Objection Deadline: August 14, 2023 at 12:00 p.m. EDT


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Counsel to the Examiner

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re                                                              Chapter 11
CELSIUS NETWORK LLC, et al.1                                       Case No. 22-10964 (MG)
                                   Debtors.
                                                                   (Jointly Administered)


               FINAL APPLICATION OF SHOBA PILLAY, EXAMINER
              AND JENNER & BLOCK LLP FOR COMPENSATION FOR
         PROFESSIONAL SERVICES RENDERED AND REIMBURSEMENT OF
             EXPENSES INCURRED AS ATTORNEYS FOR EXAMINER
        FOR THE PERIOD OF SEPTEMBER 29, 2022 THROUGH MARCH 31, 2023

        Shoba Pillay, Examiner in these chapter 11 cases (the “Examiner”), and Jenner & Block

LLP (“Jenner & Block”), counsel to the Examiner, hereby submit this final application for

compensation for professional services rendered and reimbursement of expenses incurred (the

“Final Fee Application”) for the period from September 29, 2022 through and including March


1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number are: Celsius Network LLC (2148); Celsius KeyFi LLC (4414); Celsius Lending LLC (8417); Celsius Mining
LLC (1387); Celsius Network Inc. (1219); Celsius Network Limited (8554); Celsius Networks Lending LLC (3390);
Celsius US Holding LLC (7956); GK8 Ltd. (1209); GK8 UK Ltd. (0893); and GK8 USA LLC (9450). The location
of Debtor Celsius Network LLC’s principal place of business and the Debtors’ service address in these chapter 11
cases is 121 River Street, PH05, Hoboken, New Jersey 07030.
31, 2023 (the “Final Fee Period”) in accordance with sections 327, 330, and 331 of title 11 of the

United States Code, Rules 2014 and 2016 of the Federal Rules of Bankruptcy Procedure, Rules

2014-1 and 2016-1 of the Local Bankruptcy Rules for the United States Bankruptcy Court for the

Southern District of New York, and the Amended Order (I) Establishing Procedures for Interim

Compensation and Reimbursement of Expenses for Retained Professionals and (II) Granting

Related Relief [Dkt. 1745] (“Interim Compensation Order”); the Court’s Amended Guidelines

for Fees and Disbursements for Professionals in Southern District of New York Bankruptcy Cases,

dated July 17, 2013 (the “Local Guidelines”); the United States Trustee’s Guidelines for

Reviewing Applications for Compensation and Reimbursement of Expenses Filed Under 11 U.S.C.

§ 330 by Attorneys in Large Chapter 11 Cases Effective as of November 1, 2013 (the “UST

Guidelines”); and the Amended Order Appointing Independent Fee Examiner and Establishing

Related Procedures for the Review of Fee Applications of Retained Professionals (the “Fee

Examiner Order”) [Dkt. 1746]. In support of this Application, Jenner & Block submits the

Certification of Vincent E. Lazar (the “Lazar Certification”), attached hereto as Exhibit A, and

respectfully represent as follows:

                                     Preliminary Statement

       1.      On November 1, 2022, this Court entered the Order Authorizing Employment of

Jenner & Block LLP as Attorneys for the Examiner Effective as of September 29, 2022 [Dkt. 1259]

(the “Retention Order”), approving the Examiner’s employment of Jenner & Block, effective as

of September 29, 2022. A copy of the Retention Order is attached hereto as Exhibit B. During the

Final Fee Period, the Examiner and Jenner & Block conducted a wide-ranging investigation,

collecting and reviewing hundreds of thousands of pages of documents (more than 500 gigabytes

of data over the course of her investigation), interviewing more than 45 current and former Celsius




                                                2
personnel and customers (and more than 50 over the course of her investigation), and engaging in

extensive information-gathering discussions with the various interested parties, including the

Debtors, the Debtors’ customers, the U.S. Trustee, the Official Committee of Unsecured Creditors

(the “Committee”), state and federal regulatory agencies, and the ad hoc committees. The

Examiner’s investigation culminated in the 302-page Interim Report (“Interim Report”), filed

with the Court on November 19, 2022 [Dkt. 1411], and the 689-page Final Report (“Final

Report”), filed with the Court on January 31, 2023 [Dkt. 1956].

        2.       Jenner & Block submits that its work during the Final Fee Period was necessary

for, and beneficial to, the Examiner in these chapter 11 cases, and respectfully requests that the

Court award the fees and expenses requested in this Final Fee Application.

                                                 Jurisdiction

        3.       The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This

matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2).

        4.       Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

        5.       The statutory bases for the relief requested herein are sections 330 and 331 of the

Bankruptcy Code, Bankruptcy Rules 2014 and 2016, and Local Rules 2014-1 and 2016-1.

                                      Background and Case Status

        6.       On July 13, 2022 and December 7, 2022, each of the Debtors filed voluntary

petition for relief under chapter 11 of the Bankruptcy Code. 2 The Debtors have continued to

operate their businesses and manage their affairs as debtors and debtors in possession under

sections 1107(a) and 1108 of the Bankruptcy Code.


2
 Debtors Celsius Network LLC, Celsius KeyFi LLC, Celsius Lending LLC, Celsius Mining LLC, Celsius Network
Inc., Celsius Network Limited, Celsius Networks Lending LLC, and Celsius US Holding LLC filed voluntary petitions
on July 13, 2022. Debtors GK8 Ltd., GK8 UK Ltd., and GK8 USA LLC filed voluntary petitions on December 7,
2022.



                                                       3
       7.        On July 27, 2022, the United States Trustee appointed an Official Committee of

Unsecured Creditors (the “Committee”), comprised of seven of the Debtors’ account holders.

[Dkt. 241.]

       8.        On August 18, 2022, the United States Trustee filed a motion seeking appointment

of an examiner. [Dkt. 546.]

       9.        On September 14, 2022, the Court entered the Order Directing the Appointment of

an Examiner Pursuant to Section 1104(c) of the Bankruptcy Code [Dkt. 820] (“Examiner

Order”), directing the appointment of an examiner under section 1104(c) to conduct an

investigation of:

              a. the Debtors’ cryptocurrency holdings, including a determination as to where
                 the Debtors’ cryptocurrency holdings were stored prepetition and are stored
                 postpetition and whether different types of accounts are commingled;

              b. why there was a change in account offerings beginning in April 2022 from
                 the Earn Program to the Custody Service for some customers while others
                 were placed in a ‘Withhold Account’;

              c. the Debtors’ procedures for paying sales taxes, use taxes, and value added
                 taxes and the extent of the Debtors’ compliance with any non-bankruptcy
                 laws with respect thereto”; and

              d. the current status of the utility obligations of the Debtors’ mining business.

(Examiner Order ¶ 3.)
       10.       The Examiner Order also directed the examiner to “otherwise perform the duties of

an examiner set forth in §§ 1106(a)(3) and 1106(a)(4) of the Bankruptcy Code,” subject to the

terms of the Examiner Order. (Id.)

       11.       On September 29, 2022, the United States Trustee appointed Shoba Pillay as

Examiner and filed a notice of the appointment [Dkt. 920] and an application to approve the

appointment of the Examiner. [Dkt. 921.] The Court entered an Order approving the appointment

of the Examiner the same day. [Dkt. 923.]



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        12.       On October 11, 2022, the Examiner filed her Work Plan, in accordance with

paragraph 7 of the Examiner Order [Dkt. 1013-1] (“Initial Work Plan”). Under the Examiner

Order, the Examiner’s final report was due 60 days after the filing of her Initial Work Plan—i.e.,

December 10, 2022—absent further order of the Court on notice to all parties. (Examiner Order

¶ 8.)

        13.       On October 11, 2022, the Bankruptcy Court entered a scheduling order to address

claims made by two ad hoc groups. These groups claim that the crypto assets held in what Celsius

called Custody and Withhold accounts are property of the account holders, rather than property of

Celsius’s bankruptcy estates. (See Joint Stipulation and Agreed Scheduling Order By and Among

the Debtors, The Committee, The Ad Hoc Groups With Respect to Custody and Withhold Issues

[Dkt. 1044] (“Phase I Order”).) Because of factual overlap between this claim and the Examiner’s

investigation, the Court directed the Examiner to file an Interim Report by November 19, 2022

addressing several factual issues:

              •   how and when the Custody and Withhold wallets were created;

              •   whether the Custody and Withhold wallets have only ever held Custody and
                  Withhold Coins, respectively, and whether the Custody and Withhold
                  wallets include coins that have been designated as pledged collateral;

              •   the process by which coins were transferred in and out of Custody and
                  Withhold wallets;

              •   the balance of assets in Custody and Withhold accounts and Custody and
                  Withhold liabilities in the ten (10) days before and after the pause by coin;

              •   the number and types of coins that are currently in Custody and Withhold
                  wallets as a step in an unsuccessful attempt to withdraw coins off of the
                  platform (to the extent ascertainable).

(Id. ¶ 7.)




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        14.      On November 1, 2022, the Court entered an Order Approving Examiner’s Motion

to Confirm Examination Scope or Alternatively for Expansion of the Scope of the Examination

[Dkt. 1260] (“First Scope Order”), which clarified that:

              a. Topic (i) set forth in the Examiner Order includes an examination of the
                 Debtors’ CEL tokens, including why and how other digital assets were
                 converted into CEL tokens, and how these tokens were marketed, stored,
                 and traded – including whether any of the Debtors’ trading practices
                 involving CEL tokens generally or determinations of CEL tokens awarded
                 as part of the Earn Rewards program – impacted their value, and

              b. Topic (ii) set forth in the Examiner Order includes an examination of the
                 representations Debtors generally made in public representations to
                 customers to attract them to their platform and about their cryptocurrency
                 holdings and account offerings.

(Id. ¶¶ 2-3.)

        15.      On November 14, 2022, the Court entered a Stipulation and Agreed Order

Modifying Scope of Examiner Order [Dkt. 1343] (“Second Scope Order,” and together with the

First Scope Order, the “Examiner Orders”) under which the “[t]he scope of the Examiner’s

factual investigation and report is expanded to include an investigation and report on whether the

Debtors used new deposits being made by customers to make payments or otherwise meet

obligations to existing customers at a time when the Debtors had no other sources (whether liquid

or which could have been monetized) from which to make such payments or meet such

obligations.” (Id. ¶ 1.).

        16.      On November 19, 2022, the Examiner filed the Interim Report, addressing the

issues identified in the Phase I Order.

        17.      On December 2, 2022, the Court entered an Order Approving Amended Work Plan

[Dkt. 1562], which approved the Examiner’s Amended Work Plan [Dkt. 1438-1] (“Amended

Work Plan”) and extended the Examiner’s deadline to file her Final Report to January 17, 2023.

(Id. ¶ 29.)


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       18.     On December 8, 2022, the Court entered an order [Dkt. 1645] extending the

Debtors’ exclusive periods to file and solicit acceptances to a chapter 11 plan to February 15, 2023.

       19.     On January 11, 2023, the Examiner moved to extend the deadline for the Final

Report to January 30, 2023 [Dkt. 1850]. As set forth in that motion, the Examiner required the

extension because of delays in document production and witness interviews. (Id. at ¶¶ 11-14.) the

Court entered an order [Dkt. 1851] extending the Examiner’s deadline to January 30, 2023.

       20.     On January 31, 2023, the Examiner filed the Final Report.

       21.     On March 21, 2023, the Examiner filed her Motion for Entry of Order Discharging

Examiner [Dkt. 2284] (“Discharge Motion”).

       22.     On April 4, 2023, the Court entered an order [Dkt. 2364] (the “Discharge Order”)

granting the Discharge Motion and terminating the appointment of the Examiner subject to certain

conditions provided therein.

                         Jenner & Block’s Retention and Fee Request

       23.     On September 29, 2022, the Examiner selected Jenner & Block as her counsel. See

Disinterestedness Declaration of Shoba Pillay [Dkt. 921-1] (the “Pillay Declaration”).

       24.     On October 4, 2022, the Examiner filed her Application to Employ Jenner & Block

LLP as Attorneys to the Examiner [Dkt. 962].

       25.     On November 1, 2022, the Court entered the Retention Order.

       26.     Jenner & Block’s fees are based upon hours charged, recorded in tenth-of-an-hour

increments, at Jenner & Block’s ordinary and customary hourly rates in effect as of January 1 of

the calendar year in which the services are rendered, plus reimbursement of actual, necessary, out-

of-pocket expenses and other charges incurred by Jenner & Block on behalf of the Examiner.

Jenner & Block adjusts its rates annually at the start of each calendar year, as disclosed in its




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Retention Application and approved by the Retention Order. These rates are consistent with the

rates charged to other clients, including outside of bankruptcy. Jenner & Block has shared its

hourly rates with the Examiner, and the Examiner has approved these rates.

       27.     On December 15, 2022, the Examiner filed the First Interim Application of Shoba

Pillay, Examiner and Jenner & Block LLP for Professional Services Rendered and Reimbursement

of Expenses Incurred as Attorneys for Examiner for the Period of September 29, 2022 through

October 31, 2022 [Dkt. 1717] (the “First Interim Application”), seeking $1,863,035.50 in fees

and $1,135.09 in expenses. Because the First Interim Application covered only the first 33 days of

the Examiner’s investigation, the Examiner agreed with the Fee Examiner to defer reporting on its

First Interim Application. See Summary Report on Fee Review Process and First Interim Fee

Applications ¶¶ 88-94 [Dkt. 2387].

       28.     On April 14, 2023, the Examiner filed the Second Interim Application of Shoba

Pillay, Examiner and Jenner & Block LLP for Professional Services Rendered and Reimbursement

of Expenses Incurred as Attorneys for Examiner for the Period of September 29, 2022 through

October 31, 2022 [Dkt. 2463] (the “Second Interim Application”), seeking $9,534,819.50 in fees

and $65,138.10 in expenses.

       29.     Following discussions with the Fee Examiner, the Examiner and Jenner & Block

agreed to voluntary reductions of $305,475.68 in requested fees and $2,592.08 in requested

expense reimbursement. With these reductions, the Fee Examiner recommended for approval the

First Interim Application and Second Interim Application. See Summary Report on Fee Review

Process and Second Interim Fee Applications ¶¶ 65–71 [Dkt. 2975] (“Second Fee Examiner

Report”).




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       30.     On July 19, 2023, the Court entered an order approving the First Interim

Application and Second Interim Application with the agreed reductions set forth in the Second Fee

Examiner Report. Second Omnibus Order Granting Applications For Allowance Of Compensation

For Professional Services Rendered And Reimbursement Of Expenses For The First And Second

Interim Compensation Periods, Ex. A [Dkt. 3055] (“Second Omnibus Fee Order”).

       31.     As the Examiner’s work is complete and First Interim Application and Second

Interim Application have been approved by the Court in the Second Omnibus Fee Order, Jenner

& Block requested and received authorization from the Fee Examiner to file this Final Fee

Application while the chapter 11 case remains open. The Debtor has also indicated it does not

object to the filing of the Final Fee Application at this time.

       32.     By this Final Fee Application, and after taking into account certain discounts and

reductions agreed with the Fee Examiner, Jenner & Block requests (i) final allowance of

$11,092,379.32 for the reasonable compensation for actual, necessary legal services that Jenner &

Block rendered to the Examiner during the Final Fee Period; and (ii) final allowance of $65,138.10

for the actual and necessary costs and expenses that Jenner & Block incurred in connection with

such services during the Final Fee Period.

       33.     This is Jenner & Block’s final request for compensation in these chapter 11 cases.

As set forth in the Lazar Certification, all the services for which compensation is sought herein

were rendered for and on behalf of the Examiner in connection with these chapter 11 cases. To the

best of Jenner & Block’s knowledge and as disclosed in the Pillay Declaration; Declaration of

Vincent E. Lazar in Support of the Application Authorizing the Employment of Jenner & Block

LLP as Attorneys for the Examiner Effective as of September 29, 2022 [Dkt. 962, Ex. C]; the

Supplemental Declaration of Vincent E. Lazar in Support of the Application Authorizing the




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Employment of Jenner & Block LLP as Attorneys for the Examiner Effective as of September 29,

2022 [Dkt. 1608]; and the Second Supplemental Declaration of Vincent E. Lazar in Support of the

Application Authorizing the Employment of Jenner & Block LLP as Attorneys for the Examiner

Effective as of September 29, 2022 [Dkt. 2282] (together, the “Retention Declarations”), Jenner

& Block is a “disinterested person” as defined in section 101(14) of the Bankruptcy Code, and

except as otherwise specified in the Retention Declarations, Jenner & Block’s partners, associates,

and special attorneys do not hold or represent any interest adverse to the Examiner.

        34.        Jenner & Block might have in the past represented, might currently represent, and

likely in the future will represent parties that are parties in interest in these cases in connection

with matters unrelated to the Examiner or the chapter 11 cases. In the Retention Declarations,

Jenner & Block disclosed its connections to parties in interest in the chapter 11 cases that it has

been able to ascertain using reasonable efforts. Jenner & Block will update such disclosures, as

appropriate, if Jenner & Block becomes aware of material new information relevant to the time

period during which it was providing services.

        35.        Jenner & Block performed the services for which it is seeking compensation solely

on behalf of the Examiner and not on behalf of any of the other Debtors, any committee, creditor,

or other entity.

        36.        Jenner & Block has not received payment or a promise of payment from any source

other than the Debtors’ estates for its services rendered and expenses incurred on behalf of the

Examiner or to be rendered or incurred in any capacity whatsoever in connection with the Chapter

11 cases.

        37.        Jenner & Block does not share fees with any attorneys except to the extent

permitted by section 504 of the Bankruptcy Code.




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                    Fees and Expenses Incurred During the Final Fee Period

       A.       Fees Incurred During the Final Fee Period

       38.      In the ordinary course of Jenner & Block’s practice, Jenner & Block maintains

records of the time spent on the professional services provided to the Examiner. Exhibit C is a

summary of fees incurred and hours worked during the Final Fee Period Period for which

compensation is sought on an hourly basis in this Application, setting forth the following

information:

             a. the name of each attorney and paraprofessional for whose work compensation is
                sought;

             b. each attorney’s year of bar admission and area of practice concentration;

             c. the aggregate time worked and fees billed by each attorney and each
                paraprofessional during the Final Fee Period;

             d. the hourly billing rates for each such attorney and paraprofessional at Jenner &
                Block’s applicable billing rates; and

             e. a calculation of total compensation requested using the rates disclosed in the Final
                Fee Application.

       39.      As noted above, the Examiner and Jenner & Block, the consultation with the Fee

Examiner, agreed to $305,475.68 in aggregate reductions to their requested fees during the Final

Fee Period, which were approved by the Court in its Second Omnibus Fee Order. This chart reflects

fees prior to these reductions.

       B.       Customary Billing Disclosures

       40.      Jenner & Block’s hourly rates are set at a level designed to compensate Jenner &

Block fairly for the work of its attorneys and paraprofessionals and to cover overhead and

operating expenses. The hourly rates and corresponding rate structure utilized by Jenner & Block

in these chapter 11 cases are the same as the hourly rates and corresponding rate structure Jenner

& Block uses for other restructuring matters and are comparable to the hourly rates and


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corresponding rate structure that Jenner & Block uses for corporate, securities, and litigation

matters whether in court or otherwise, regardless of whether a fee application is required. Jenner

& Block’s rates and rate structure reflect the complex and time-sensitive nature of restructuring

and other matters handled by Jenner & Block. The First Interim Application and Second Interim

Application attach summaries of the blended hourly rates for timekeepers during each interim

period and a comparison to blended hourly rates on other matters.

       C.      Expenses Incurred During the Final Fee Period

       41.     In the ordinary course of Jenner & Block’s practice, it maintains a record of

expenses incurred in rendering professional services to the Examiner and for which reimbursement

is sought. The First Interim Application and Second Interim Application attach summaries of the

total amount of expenses for which Jenner & Block seeks reimbursement with respect to each

category of expenses for the Final Fee Period prior to voluntary reductions agreed to by the Fee

Examiner and approved by the Court in its Second Omnibus Fee Order.

             Summary of Legal Services Provided During the Final Fee Period

       42.     During the Final Fee Period, Jenner & Block provided important professional

services to the Examiner in connection with these chapter 11 cases. The First Interim Application

and Second Interim Application attach schedules setting forth a description of each project

category used in the case, the number of hours worked by Jenner & Block attorneys and

paraprofessionals for each project category, and the aggregate fees associated with each project

category, as well as narrative summaries of the work performed in each project category.

 Actual and Necessary Expenses Incurred by Jenner & Block During the Final Fee Period

       43.     Jenner & Block has incurred a total of $65,138.10 in expenses on behalf of the

Examiner during the Final Fee Period. The expenses requested by Jenner & Block are intended to




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reimburse Jenner & Block’s direct costs that are not included in Jenner & Block’s hourly billing

rates.

    Jenner & Block’s Requested Compensation and Reimbursement Should be Allowed.

         44.   The services for which Jenner & Block seeks compensation in this Application

were, at the time provided, reasonably calculated to be necessary for and beneficial to the

Examiner. Jenner & Block performed these services economically, effectively, and efficiently.

Jenner & Block submits that the compensation requested is reasonable considering the nature,

extent, and value of such services to the Examiner. Accordingly, Jenner & Block submits that the

compensation sought in this Application is warranted and should be approved.

         45.   Section 331 of the Bankruptcy Code provides for interim and final compensation

of professionals and incorporates the substantive standards of section 330 of the Bankruptcy Code

to govern the Court’s award of such compensation. Section 330 of the Bankruptcy Code provides

that a court may award a professional employed under section 327 of the Bankruptcy Code

“reasonable compensation for actual, necessary services rendered … and reimbursement for actual,

necessary expenses.” 11 U.S.C. § 330(a)(1). Section 330 also sets forth the criteria for the award

of such compensation and reimbursement:

               In determining the amount of reasonable compensation to be
               awarded, the court should consider the nature, extent, and the value
               of such services, taking into account all relevant factors, including—

               (a)   the time spent on such services;

               (b)   the rates charged for such services;

               (c)   whether the services were necessary to the administration of,
                     or beneficial at the time at which the service was rendered
                     toward the completion of, a case under this title;

               (d)   whether the services were performed within a reasonable
                     amount of time commensurate with the complexity,



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                     importance, and nature of the problem, issue, or task
                     addressed; and

               (e)   whether the compensation is reasonable based on the
                     customary compensation charged by comparably skilled
                     practitioners in cases other than cases under this title.

11 U.S.C. § 330(a)(3).

       46.     Jenner & Block respectfully submits that the professional services provided were

necessary to the administration of these cases and performed economically and efficiently, and

that the compensation requested herein is reasonable in light of the nature, extent, and value of

such services, performed at the direction of the Examiner.

   Reasonable and Necessary Expenses Incurred in Providing Services to the Examiner

       47.     As set forth in the First Interim Application and Second Interim Application attach,

Jenner & Block has incurred a total of $65,138.10 in expenses on behalf of the Examiner during

the Final Fee Period. These charges are intended to reimburse Jenner & Block’s direct operating

costs, which are not incorporated into the Jenner & Block hourly billing rates.

        Statement by Jenner & Block Under Paragraph C(5) of the UST Guidelines

       48.    The following is provided in response to the questions set forth in ¶ C.5 of the U.S.
Trustee Guidelines:

               Question: Did you agree to any variations from, or alternatives to,
               your standard or customary billing rates, fees or terms for services
               pertaining to this engagement that were provided during the
               application period? If so, please explain.
               Response: No.

               Question: If the fees sought in this fee application as compared to
               the fees budgeted for the time covered by this fee application are
               higher by 10% or more, did you discuss the reasons for the variation
               with the client?
               Response: As described in the Examiner’s Final Report, challenges
               were encountered during the latter part of the investigation with
               respect to the timing and availability of information, documents and
               witnesses which resulted in adjustments to the work scope and


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schedule. The Examiner was regularly apprised of these
developments, but no formal budget was submitted to the Court.

Question: Have any of the professionals included in this fee
application varied their hourly rate based on the geographic location
of the bankruptcy case?
Response: No.

Question: Does this fee application include time or fees related to
reviewing the time records or preparing, reviewing, or revising
invoices? (This is limited to work involved in preparing and editing
billing records that would not be compensable outside of bankruptcy
and does not include reasonable fees for preparing a fee
application.). If so, please quantify by hours and fees.
Response: Yes. Jenner & Block spent approximately 30 hours and
$35,000 revising its invoices so that privileged and confidential
information would not appear in public filings.

Question: Does this fee application include time or fees for
reviewing time records to redact any privileged or other confidential
information? If so, please quantify by hours and fees.
Response: No. Jenner & Block did not redact its invoices, but as
noted immediately above, spent time revising its invoices to protect
privileged and confidential information.

Question: If the fee application includes any rate increases since
retention: (i) Did your client review and approve those rate increases
in advance? (ii) Did your client agree when retaining the law firm to
accept all future rate increases? If not, did you inform your client
that they need not agree to modified rates or terms in order to have
you continue the representation, consistent with ABA Formal Ethics
Opinion 11-458?
Response: Jenner & Block increased its hourly rates on January 1,
2023. See Notice of Rate Increases of Jenner & Block LLP, Counsel
to the Examiner [Dkt. 1732]. The Examiner approved the rate
increases and, as a Jenner & Block partner, was aware of Jenner &
Block’s practice of adjusting its rates at the start of each calendar
year.

                               Notice




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       49.     Notice of the Application has been provided to all necessary parties in accordance

with the Interim Compensation Order. Accordingly, Jenner & Block submits that no other or

further notice need be given.

                                   (Signature page follows.)




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Dated: July 24, 2023   Respectfully submitted,

                       JENNER & BLOCK LLP

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